Page 1 of 2

JARVIS, DANA E.
Source and Application of Funds from
Forms 1040 / Years 1991 - 2004

DESCRIPTION 1991 1992 1993 1994 1995 1996 1997 1998 1999 2000 1999-2000
Exhibit Reference & Page Number N-204 pp. 19-184 | N-204 pp. 19-184 | N-204 pp. 19-184 | N-204 pp. 19-184! N-204 pp. 19-184 | N-204 pp. 19-184 | N-189 pp. 163-190 | Ex. 85 pp. 1-118 | Ex. 85 pp. 119-225 | Ex. 85 pp. 226-357 Totals
Filing Status H of H HofH HofH Hof H Single Single Single Single Single Single
Dependents 1 1 1 1 0 0 0 0 0 1
Preparer (4) (1) 4) (1) (1) (1) (1) () (1) —
Filed Timely ? Filed in 1993 Filed in 1994 Filed Timely ? Filed in 1996 Filed in 1997 Filed in 1999 Filed in 2000 Filed in 2001 Filed in 2002

income Sources: iL
Wages (Gross) $115.00 $115.00
interest Income $5,709.00 $4,146.00 $4,023.00 $3,576.00 $6,587.00 $2,674.00 $2,930.00 $3,494.00 $4,526.00 $7,249.00 $44,914.00
Dividend Income $447.00 $1,373.00 $1,212.00 $1,368.00 $1,597.00 $1,341.00 $1,205.00 $1,552.00 $1,502.00 $3,506.00 $ 5,103.00 |
Federal Tax Refund (applied to year received) ** $936.00 $2,047.00 $300.00 3,283.00
Refunds of State/Local Taxes (applied to year received) $105.00 $32.00 $108.00 $110.00 $28.00 $151.00 $39.00 $956.00 51,530.00
Business income or Loss: Sch. C #1 - Video (Gross)* $747.00 $26,497.00 $21,499.00 $48,743.00
Business Income or Loss: Sch. C #2 - Tables (Gross) $3,975.00 $16,457.00 $16,240.00 $15,068.00 $51,740.00
Business Income or Loss: Sch. C #3 - Club (Gross) $193,998.00 $323,739.00 $340,251.00 $857,988.00
Business Income or Loss: Sch. C #4 - Land (Gross) $22,500.00 $22,500.00
Other Gains or Losses: F4797 $17,024.00 $17,024.00
(nstaliment Sale Income Balabas $281.00 $355.00 $636.00
instaliment Sale Income Serrano $7,848.00 $625.00 $8,473.00
RentRoyalty/Partnership/Estate; Rent/Royalty Income/_oss
Partnership/ S-Corm Income/Loss; Estate/ Trust income/ Loss $965.00 $794.00 $629.00 $821.00 $369.00 $760.00 $806.00 $596.00 $4,221.00 $857.00 $10,818.00
Total Sources $7,983.00 $33,851.00 $44,420.00 $7,920.00 $8,963.00 $4,803.00 $9,067.00 $238,597.00 $358,396.00 $368,867.00 $1,082,867.00
Less Expenditures:
Business Expenses: Sch. C #1 Video $23,728.00 $22,864.00 $46,592.00
Business Expenses: Sch. C #2 Tables $3,231.00 : $674.00 $230.00 $0.00 $4,135.00
Business Expenses: Sch. C #3 Club $120,046.00 $183,181,00 $208,272.00 $511 499.00 |

Plus: Cost of Goods Sald _ $46,511.00 $64,420.00 $88,105.00 $199,036.00

Less: Depreciation & Amortization ($2,588.00) $2,110.00) ($3,000.00) ($22,093.00) ($13,948.00) ($13,006.00) ($56,745.00)
Capital Purchases $1,996.00 $15,212.00 $557.00 $3,000.00 $38,890.00 $6,669,00 $6,338.00 $72,662.00
Down Pmt on purchase of 3523 Central Ave $7,500.00 $7,500.00
Business Expenses: Sch. C #4 Land $5,342.00 $8,342.00
Land PurchaseAmprovements $5,000.00 $18,639.60 $23,639.60
Principle Payments-Bldg. (98-00) & Liquor License (03-04) $90,767.00 $119,800.00 $25,200.00 $235,767.00
(RA $200.00 $200.00
Rental Expenses __ i fo

Less: Depreciation & Amortization $0.00
Schedule A - Itemized Deductions $6,276.00 $12,814.00 $19,090.00

Plus: Medical Limited by AGI

Misc. Limited by AGI
|Federal and State Income Tax Payments per bank records $2,000.00 $18,392.79 $20,392.79
1995 Form 1040 Taxes paid 2/11/97 with two money orders,
Exh. 189, Pg. 181 $352.52 $362.52
1999 Form 140 Taxes paid 4/14/99 with money order;
Exh. 189, Pg. 226 $3,500.00
Estimated Tax Payment & Amounts Previous Applied $110.00 $60.00 $18.00 $36.00 $39.00 $10,000.00 $10,539.00 $20,802.00
Estimated Tax Payment with extension $1,400.00 $650.00 $650.00 $2,750.00 $5,450.00
Total Expen $2,106.00 $37,812.00 $21,961.00 $650.00 $18.00 $36.00 $8,622.52 $306,476.60 $384,878.00 $356,654.79 $1,119,214.94
$5,877.00 {$3,961.00 822,459.00 $7,270.00 $8,845.00 $4,767.00 $444.48 ($67,879.60 ($26,482.00 $12,212.21 ($36,347.91)

“Federal tax refunds received on 1040X applied to 1994 tax
year Amended in 1994: Amended in 1994
Reai Estate Escrow (Pmis) Received - 13 Enebro/1440 Cielo
Vista $60,240.90 $60,240.90
Personal Living Expenses not reflected above
Net Worth per Loan Application signed by Dana Jarvis on
August 22, 2000 (Exh. 68, Pgs. 6-7) $243,888.49
Net Worth per Loan Application signed by Dana Jarvis on p ~
March 31, 2004 (Exh. 45, Pgs. 17-20) i
Dependent - Ayia Janis
Preparer - Terry Mossman, Santa Fe, NM XX-XXXXXXX (1)
“1991 Schedule C Not Available therefore amount claimed here
is net income from Schedule C

J. Somera
11-17-06

GOVERNMENT

EXHIBIT
aa

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JARVIS,

DANAE.

Source and Application of Funds from
Forms 1040/ Years 1991 - 2004

DESCRIPTION 2001 2002 2003 2004 2001-2004
Exhibit Reference & Page Number Ex. 85 pp. 358-459 | Ex. 85 pp. 542-694 | Ex. 85 pp. 559-673 } Ex. 85 pp, 460-541 Totals
Filing Status Single Single Single Single
Dependents 1 1 1 1
Preparer (a) @ a a
Filed in 2002 Filed in 2003 Filed in 2004 Filed Timely ?
Income Sources:
Wages (Gross)
interest Income $6,783.00 $6,044.00 $4,965.00 $3,026.00 $20,818.00
Dividend Income $4,059.00 $2,856.00 $2,897.00 $1,584.00 $11,396.00
Federal Tax Refund (applied to year received) ** $644.80
Refunds of State/Local Taxes (applied to year received) J $39.00 $13.00 $33.00 $85.00
Business Income or Loss: Sch. C #1 - Video (Gross)*
Business Income or Loss: Sch. C #2 - Tables (Gross) $13,920.00 $13,695.00 $12,248.00 $9,022.00 $48,885.00
Business Income or Loss: Sch. C #3 - Club (Gross) $356,273.00 $364,251.00 $265,545.00 $164,940.00 $1,141,009.00
Business income or Loss: Sch. C #4 - Land (Gross)
Other Gains or Losses: F4797
Installment Sale Income Balabas $182.00 $0.00 $0.00 $0.00 $182.00
Instailment Sale Income Serrano $1,448.00 $2,527.00 $2,113.00 $2,385.00 $8,473.00
Rent/Royalty/P artnership/Estate; Rent/Royalty Income/Loss
Partnership/ S-Corp income/Loss; Estate/ Trust Income/ Loss _$1,057.00 $670.00: $17,930.00) $8,375.00 $28,032.00)
Total Sources $383,761.00 $390,056.00 $296,375.80 $189,332.00 $1,259,524.80
Less Expenditures:
[Business Expenses: Sch, C #1 Video
Business Expenses: Sch. C #2 Tables $992.00 $0.00 $0.00 $0.00 $992.00 |
Business Expenses: Sch. C #3 Club $236,160.00 $257,297.00 $160,745.00 $90,046.00 $744,248.00
Plus: Cost of Goods Soid $97,365.00 $83,707.00 $58,867.00 $39,385.00 $279,324.00
Less: Depreciation & Amortization ($6,282.00) ($5,921.00) ($5,921,00) ($5,921.00) ($23,995.00)
Capital Purchases $1,200.00 $15,000.00 $16,200.00
Down Pmt on purchase of 3523 Central Ave
Business Expenses: Sch. C #4 Land
Land PurchaseAmprovements
Principle Payments-Bldg. (98-00) & Liquor License (03-04) $1,161.00 $1,086.00 $2,247.00
IRA $2,000.00 $2,000.00
Rental Expenses { $14,798.00 $14,776.00 $29,574.00 |
Less: Depreciation & Amortization ($5,228.00) ($5,661.00) ($10,889.00)
Schedule A - Itemized Deductions $23,456.00; $38,898.00 $17,067.00 $79,421.00
Plus: Medical Limited by AGI $1,567.00 $3,353.00 $4,483.00 $9,403.00
Misc. Limited by AGI $181.00 $494.00 $675.00
Federal and State Income Tax Payments per bank records $12,773.47 $17,953.00 $15,967.54 $13,755.00 $60,449.01
1995 Form 1040 Taxes paid 2/11/97 with two money orders;
Exh. 189, Pg. 181_
1999 Form 140 Taxes paid 4/14/99 with money order; |
Exh. 189, Pg. 226
Estimated Tax Payment & Amounts Previous Applied $2,000.00 $2,000.00
Estimated Tax Payment with extension $2,000.00 $1,500.00 $3,500.00
$369,462.47 $397,287.00 $279,433.54 $148,966.00 $1,195,149.01
$14,298.53 ($7,231.00 $16,942.26 $40,366.00 $64,375.79
**Federal tax refunds received on 1040X applied to 1994 tax
year
Reali Estate Escrow (Pmts) Received - 13 Enebro/1440 Cielo
Vista ($55,223.81) ($13,074.69) ($68,298.50)
Personal Living Expenses not reflected above ($110,698.57: ($21,717.40) ($55,330.87) {$48,780.60) ($236,527.44)
Net Worth per Loan Application signed by Dana Jarvis on
August 22, 2000 (Exh. 68, Pgs. 6-7)
Net Worth per Loan Application signed by Dana Jarvis on
March 31, 2004 (Exh. 45, Pgs. 17-20) $1,464.966.00

Dependent - Ayla Jarvis

Preparer - Terry Mossman, Santa Fe, NM XX-XXXXXXX (1)

*1991 Schedule C Not Available therefore amount claimed here

is net income from Schedule C

J. Somera
17-17-06
Formulas used in Source and App Schedule for Dana Jarvis M. Albers
12-4-06

Federal Tax Returns: ~ T | | ; | we:

991 Form 1040

1995 Form 1040

2003 Form 1040 ™ " ~~ . ™ “ : " . * sen : cae . & 4,734.00)
Refund (Tax Due) $0.00 $936.00 | _($211.00) $2,047.00 $300.00 ($24.00) $0.00 $0.00 ($105.00) $2,291.00 | ($12,196.00) ($25,641.00) ($26.20) ($11,734.00)

06

ne

e008 NIN e ee a Sn Ee SaN ee é : We
Refund (Tax Due) $9.00 $105.00 $33.00 $108.00 $110,060 $28.00 $151.00 $0.00 $39.00 $956.00 | ($2,567.00) ($531.00) $9.00 $0.00

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Formulas used in Source and App Schedule for Dana Jarvis

NM. Albers

12-4-06
oe oe 4 a Se e oe ae es
1998 Capital Purch:
inventory $953.00
Equipment $12,547.00
Goodwit $1,500.00
Kitchen Equipment $2,500.00
Bathroom Remodel $21,390.00 L.
Total $38,890.00
Exhibit 85, Pg. 77, 116, and 103
1998 Land Purch: pre
Improvements to Parcels A,B,C,D, and E $31,066.00!
Exhibit 85, Pg. 43, 48 60%
A it to Jarvis $18,639.60,
{Principle Pmys - Bidg/Liq License:
Total Payments $104,000.00 $130,275.10 $26,055.02 $0.00 $0.00 $6,242.79 $9,810.13
Interest Claimed on Return {$13,233.00 ($10,475.00) __ ($855.00) $0.00 $0.00. ($5,082.00) __($8,724.00)
Principle Payments $90,767.00 $119,800.10 $25,200.02 $0.00 | $0.00 $1,160.79 $1,086.13
Exhibit 85, Pg. 71, 192,125,297,239 |
d Tax Paym t 1991/NM 1992/NM 1995/CO 1996/CO 1997/CO 1998/1040 2000/1040 2002/1040
Applied to tax return year $110.00 $60.00 $18.00 $36.00 $39.00 $10,000.00 $39.00 $2,000.00
2,286 tax refund from 98 applied to 99
A it paid with E. 1991/1040 1992/1040 1993/1040 1998/1040 1999/1040 2002/1040 2003/1040
[Applied to tax year paid $1,400.00 $650.00 $650.00 $2,750.00 $5,000.00 $2,000.00 $1,500.00
1998/140 1998/1040
Applied to tax year paid: | $3,500.00 $5,500.00
Fed. & St. Tax pymts. Per bank Comp ions below: $2,000.00 $18,392.79) $12,773.47 $17,953.00 $15,967.54 $13,755.00
Acct. Amt, Date Memo
8357 $2,000.00 8/1/1999]IRS
1999 Total $2,000.00
8357 $16,000.00 04/17/2000/IRS
8357 $2,392.79 12/08/2000/ 1988 Bal.
2000 Total $18,392.79
—T
8357 $2,606.00 12/28/2001 2000 NM
8357 $1,971.47 07/02/2001
8357 $2,196.00 09/05/2001|1999 Taxes
5157 $6,000.00 09/17/2001 |1999 Taxes
2001 Total $12,773.47
8357 $17,953.00 01/14/2002 IRS.
2002 Total $17,953.00
3801 $12,757.98 02/20/2003)Levy IRS
4527 $43.56 04/08/2003) 1999 1040
4527 1,000.00 09/20/2003|1999 NM
4527 1,000.00 08/26/2003|SSN
4527 $1,166.00 10/16/2003/1999 NM
2003 Total $15,967.54
6861| $11,734.00] _10/15/2004|2004 Taxes
5861 $1,000.00. 10/15/2004 |2004 Taxes
4527 $295.00 04/13/2004|/NM 2003
4527 $726.00 10/14/2004|NM 2003
2004 Total $13,755.00

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